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                                                         Federal Bureau of In e tigation




                   DECLARATION         OF LUKE CHURCH,   SPECIAL     AGENT,
                             FEDERAL   BUREAU OF INVESTIGATION


I, LUKE CHURCH, do hereby declare and state as follows:



        1.      I am a Special Agent with the Federal Bureau of Investigation and have

been since August 2022. As a Special Agent, I have received training at the FBI

Academy located in Quantico, Virginia, including training on investigative methods and

training specific to counterintelligence and espionage investigations.       I am currently

assigned to a squad at the FBI Washington Field Office, Counterintelligence            Division,

where I primarily investigate counterintelligence   and espionage matters. During the

course of these investigations, I have conducted or participated in witness and subject

interviews, service of subpoenas, the execution of search and arrest warrants, the seizure

of evidence, including computer, electronic, and email evidence, as well as requested and

reviewed pertinent records. Based on my experience and training, I am familiar with the

requirements for the handling of classified documents and information.           I am also

familiar with the methods used by individuals engaged in the unlawful use or disclosure

of classified information.

        2.      I am currently investigating the activities of JACK DOUGLAS

TEIXEIRA ("TEIXEIRA"), whom I believe willfully retained and transmitted classified

national defense information to a person not entitled to receive it in violation of 18 U.S.C.

§ 793(b) and (d) and 18 U.S.c. § 1924.
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        3.      I make the following statements based upon my personal knowledge and

information made available to me in my official capacity.

   I.        U.S. Government Agency Audit Data

        4.      During the course of my investigation, I had occasion to interact with the

second u.s. Government Agency ("U.S. Government Agency 2") described in the

Affidavit in Support of an Application for a Criminal Complaint and Arrest Warrant

("Affidavit") for TEIXEIRA.

        5.      As articulated in the Affidavit, U.S. Government Agency 2 has the ability

to monitor certain searches conducted on its classified networks. U.S. Government

Agency 2 also has the ability to conduct an audit of certain documents and links that a

user accesses on its classified networks.

        6.      On April 17,2023, I observed an audit conducted by a subject matter

expert affiliated with u.S. Government Agency 2 for all searches TEIXEIRA conducted

across an Intelligence Community-wide system for which U.S. Government Agency 2

acts as a service provider. The audit yielded results dating back to February 26, 2022.

        7.      These audit results indicated that TEIXEIRA conducted hundreds of

searches on the classified network on a number of subjects, many of which related to the

Russia-Ukraine conflict.

        8.      In addition, on or around July 30, 2022, TEIXEIRA searched for the

following terms: "Ruby Ridge"; "Las Vegas shooting"; Mandalay Bay shooting"; Buffalo

tops shooting"; and "Uvalde."

        9.      During the course of my investigation, I have also reviewed audit data

from U.S. Government Agency 2 regarding certain documents that TEIXEIRA accessed.
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That audit data revealed that TEIXEIRA accessed hundreds of classified reports and/or

documents on his classified network.

   II.         Interviews of Teixeira Colleague

         10.      As part of my investigation, I have also participated in interviews of

multiple individuals who were associated with Teixeira. Among the individuals I

interviewed was a colleague of Teixeira in the Air Force National Guard.

         11.      During the course of that interview, that colleague recalled that on

Teixeira's last shift before his arrest, Teixeira told him he had a new phone number and

email address. When asked ifhe had been hacked, Teixeira responded, "something like

that." Teixeira then explained that his phone flew out of the window of his truck while

he was driving and that it was run over by a semi-truck.

         12.      The same colleague told me that Teixeira was very quiet, but often talked

about guns. He also said he believed he would be the first person Teixeira would shoot if

Teixeira were to shoot anyone in the workplace.

                                          *     *        *
         I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.




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                                                 Special Agent, Federal Bureau of Investigation
